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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY



 ROBERT CULPEPPER,
                                                   Civil Case No.
                           Plaintiff,

           v.                                                NOTICE OF REMOVAL

 CHARTER HOME ALLIANCE LIMITED
 LIABILITY COMPANY; and JOHN DOES
 1-10; fictitious persons or entities; jointly,
 severally and alternatively,

                           Defendant.


        PLEASE TAKE NOTICE that pursuant to 28 U.S.C. §1331, Defendant Charter Home

Alliance Limited Liability Company (“Charter Home Alliance or “Defendant”), by and through

the undersigned counsel, hereby remove the above-captioned action from the Superior Court of

New Jersey, Law Division, Burlington County, to this Court. The grounds for removal are as

follows:

   I.           Proceedings to Date.

        1.         On or about July 24, 2019, Plaintiff Robert Culpepper (“Plaintiff”) filed a

Complaint in the Superior Court of New Jersey, Law Division, Burlington County, captioned

Robert Culpepper v. Charter Home Alliance Limited Liability Company; and John Does 1-10,

fictitious person or entities, jointly severally and alternatively, Docket No. BUR-L001557-19.

        2.         Plaintiff first served Charter Home Alliance with the Summons and Complaint on

July 30, 2019. This is the first day that Charter Home Alliance received the Summons and

Complaint through service or otherwise.




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          3.       This Notice of Removal is timely filed within 30 days of service of the Summons

and Complaint upon Charter Home Alliance and therefore is timely pursuant to 28 U.S.C.

§1446(b)(2).

          4.       Pursuant to 28 U.S.C. §1446(a), copies of all process, pleadings, and orders served

upon Charter Home Alliance are annexed hereto as Exhibit A.

   II.          Grounds for Removal – Federal Question.

          5.       In the Third Count of the Complaint, Plaintiff alleges violations of the Fair Labor

Standards Act, 29 U.S.C. § 201, et seq.

          6.       Therefore, this Court has original federal question jurisdiction over this action,

pursuant to 28 U.S.C. § 1331, which states, “The district courts shall have original jurisdiction of

all civil actions arising under the Constitution, laws, or treaties of the U.S.”

          7.       Because this Court has federal question jurisdiction over Plaintiff’s Complaint, this

action may be removed to this Court. See 28 U.S.C. §§ 1441, 1446.

   III.         Venue.

          8.       This action is currently pending in the Superior Court of New Jersey, Law Division,

Burlington County, which is located within the District of New Jersey.               28 U.S.C. § 110.

Therefore, venue is proper in this Court because it is the “district and division embracing the place

where such [state court] action is pending.” 28 U.S.C. § 1441(a).

          IV.      Notice.

          9.       Pursuant to 28 U.S.C. § 1446(d), a copy of this Notice of Removal will be served

upon counsel for Plaintiff promptly after filing, and Defendants will file a copy of the Notice in

the Superior Court of New Jersey, Law Division, Atlantic County.




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       V.      Conclusion.

       10.     For the foregoing reasons, Defendants remove this action from state court to this

Court. By filing this Notice of Removal, Defendants do not waive any defects in service of

process, venue, personal jurisdiction, or any other defenses available to it.


                                              Respectfully submitted,


                                       By:    /s/ David E. Strand, Esq.
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                                              Attorneys for Defendant
                                              Charter Home Alliance Limited Liability Company

Dated: August 28, 2019




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